           Case 2:06-cr-00421-JLR        Document 22        Filed 12/20/06   Page 1 of 2



 1                                                                      JUDGE JAMES L. ROBART
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 8
                                UNITED STATES DISTRICT COURT
 9                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
10
     UNITED STATES OF AMERICA,                     )     NO. CR06-0421 JLR
11                                                 )
                  Plaintiff,                       )     (Proposed) ORDER GRANTING
12                                                 )     STIPULATED MOTION TO CONTINUE
                  v.                               )     TRIAL DATE AND PRETRIAL
13                                                 )     MOTIONS DEADLINE
     KANDI R. ROBERTS, and                         )
14 ERNEST M. ROBERTS,                              )
                                                   )
15                Defendants.                      )
                                                   )
16                                                 )
17         THE COURT, having considered the stipulated motion of the parties for a continuance
18 of the trial date and the pretrial motions deadlines, finds that the ends of justice will be served

19 by ordering a continuance in this case; and that a continuance is necessary to ensure adequate

20 time for effective case preparation; and that these factors outweigh the best interests of the

21 public and the defendants in a speedy trial within the meaning of 18 U.S.C. § 3161(h)(8)(A).

22         The Court further finds that the period of time from the current trial date of January 23,
23 2007 until the new trial date of March 20, 2007, shall be excludable time pursuant to the

24 Speedy Trial Act, 18 U.S.C. § 3161 et seq.

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     ORDER GRANTING STIPULATED MOTION TO CONTINUE                        FEDERAL PUBLIC DEFENDER
                                                                                   1601 Fifth Avenue, Suite 700
     TRIAL DATE AND PRETRIAL MOTIONS DEADLINE                                       Seattle, Washington 98101
     (United States v. Roberts, et al.; CR06-421 JLR) -1-                                       (206) 553-1100
           Case 2:06-cr-00421-JLR       Document 22         Filed 12/20/06    Page 2 of 2



 1          IT IS THEREFORE ORDERED that the trial date in this matter is continued until
 2 March 20, 2007 and that pretrial motions shall be filed no later than February 28, 2007.

 3          DONE this 20th day of December, 2006.
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                                               A
                                               JAMES L. ROBART
                                               United States District Judge

 8 Presented by:
     s/ Peter J. Avenia
 9 Assistant Federal Public Defender
     WSBA No. 20794
10 Attorney for Ernest Roberts
     Federal Public Defender’s Office
11 1601 Fifth Avenue, Suite 700
   Seattle, WA 98101
12 Phone: (206) 553-1100
   Fax: (206) 553-0120
   Peter_Avenia@fd.org
13

14 s/ Kenneth Kanev
     Attorney for Kandi Roberts
15 By telephonic or email authorization

16
   s/ Kathryn Warma
   Assistant United States Attorney
17 By telephonic or email authorization

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     ORDER GRANTING STIPULATED MOTION TO CONTINUE                        FEDERAL PUBLIC DEFENDER
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